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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA                                L                 •7^
                                   Alexandria Division

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 MUNAAL-SUYID,etal.                                                                                           z!
                                                                                 CLERK. U.S. DISTRICT COURT
                       Plaintiffs,                                                 ALEXANDRIA. VIRGIMIA


        V.                                          Civil Action No. 1:20cvl70(LMB/JFA)

 KHALIFA HIFTER,et al.

                       Defendants.



             PROPOSED FINDINGS OF FACT AND RECOMMENDATIONS

        This matter is before the court on plaintiffs Muna al-Suyid, Abdalla al-Krshiny, Ahmad

al-Krshiny, Mahmud al-Krshiny, and Ibrahim al-Krshiny's (collectively "plaintiffs") motion for

defaultjudgment against defendants Khalifa Hifler, Khalid Hifter, and Saddam Hifter

(collectively "defendants"). (Docket no. 27). Pursuant to 28 U.S.C. § 636(b)(1)(C), the

undersigned magistrate judge is filing with the court his proposed findings offact and

recommendations,a copy of which will be provided to all interested parties.

                                     Procedural Background

       On February 18,2020, plaintiffs filed a complaint against defendants alleging violation of

the Torture Victim Protection Act of 1991, civil conspiracy, wrongful death, battery, assault,

false imprisonment, and intentional infliction ofemotional distress. (Docket no. 1). Summonses
were issued for service on defendants on February 24,2020. (Docket no. 10). The summonses

were retumed unexecuted as to each defendant on March 9,2020. (Docket nos. 13-15). Alias

summonses were issued for service on defendants on March 10,2020. (Docket no. 19). On

March 20,2020, plaintiff filed returns of service indicating that the alias summonses and

complaint was served on each defendant on March 14, 2020. (Docket nos. 20-22). In

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